76 F.3d 373
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Benjamin Henderson JONES, Plaintiff-Appellant,v.PEOPLE of the Commonwealth of Virginia;  James S. Gilmore,III;  Mary Sue Terry, Attorney General;  Mr. Stephenson,Attorney General of Virginia;  Kusczko, District Attorney;Large, District Attorney;  Kallen, Assistant DistrictAttorney;  Sheriff Kelly;  Sheriff Adkins;  Bob Adams;George Allen, Governor;  L. Douglas Wilder, Governor;Gerald Baliles, Governor;  Charles Robb, Governor;  A.Linwood Holton, Jr., Governor, Defendants-Appellees.
    No. 95-7590.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 11, 1996.Decided Jan. 25, 1996.
    
      Benjamin Henderson Jones, Appellant Pro Se.
      Before RUSSELL, HALL, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Jones v. People of the Commonwealth of Virginia, No. CA-95-994-R (W.D.Va. Sept. 8, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    